












&nbsp;SEQ CHAPTER \h \r
1Dismissed and Memorandum Opinion
filed January 7, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-97-01288-CV

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&nbsp;

DR. GERALD JOHNSON and LANA DAVIS, Appellants

&nbsp;

V.

&nbsp;

EARL and GAIL NEWSOME, Appellees

&nbsp;

&nbsp;

&nbsp;



On Appeal from the 133rd District Court

Harris County, Texas

Trial Court Cause No. 79-42525-H

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

	This is an appeal from a judgment signed October 31, 1997. On December
4, 1997, this court abated this appeal because appellant, Dr. Gerald W.
Johnson, petitioned for voluntary bankruptcy in the United States Bankruptcy
Court for the Southern District of Texas, under cause number 97-51245-11. See
Tex. R. App. P. 8.2. 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on December
9, 1999. The parties failed to advise this court of the bankruptcy court
action.

	On November 19, 2009, this court issued an order stating that unless any
party to the appeal filed a motion demonstrating good cause to retain the
appeal within twenty days of the date of the order, this appeal would be
dismissed for want of prosecution. See Tex. R. App. P. 42.3(b). No
response was filed.&nbsp; 

	Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

						PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Anderson and Christopher.





